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                      Exhibit 13
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                                                                          ENGLISH
                                                                          ENGLISH




B’Tselem’s database provides statistics on
               two topics:

                       HOUSE DEMOLITIONS
                       HOUSE    DEMOLITIONS
DATA ON
DATA    PALESTINIAN-OWNED
     ON PALESTINIAN        STRUCTURES ISRAEL
                    -OWNED STRUCTURES ISRAEL DEMOLISHED
                                             DEMOLISHED IN
                                                         IN THE
                                                            THE WEST BANK
                                                                WEST BANK
            (INCLUDING EAST
            (INCLUDING EAST JERUSALEM) AND IN
                            JERUSALEM) AND IN THE GAZA STRIP.
                                              THE GAZA STRIP.



                              FATALITIES
                              FATALITIES
    DATA ON
    DATA ON INDIVIDUALS
            INDIVIDUALS KILLED
                         KILLED IN
                                IN THE CONFLICT BETWEEN
                                   THE CONFLICT BETWEEN ISRAEL
                                                         ISRAEL ANDAND THE
                                                                       THE
PALESTINIANS SINCE
PALESTINIANS  SINCE THE BEGINNING OF
                    THE BEGINNING  OF THE SECOND INTIFADA
                                      THE SECOND  INTIFADA –- IN
                                                              IN ISRAEL
                                                                 ISRAEL AND
                                                                        AND IN
                                                                            IN
                         THE
                         THE OCCUPIED
                             OCCUPIED TERRITORIES.
                                       TERRITORIES.
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